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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

CHERYL COMPTON, et al.,                           )
                                                  )
                                   Plaintiffs,    )
                                                  )        Cause No. 4:11CV01975 CEJ
v.                                                )
                                                  )
ST. LOUIS METROPOLITAN POLICE                     )
DEPARTMENT, et al.,                               )
                                                  )
                                   Defendants.    )

VERIFIED STATEMENT OF REASONABLE ATTORNEYS’ FEES OF DEFENDANTS
   ST. LOUIS METROPOLITAN POLICE DEPARTMENT, BOARD OF POLICE
COMMISSIONERS OF THE ST. LOUIS METROPOLITAN POLICE DEPARTMENT,
         RICHARD GRAY, JERRY LEE, BETTYE BATTLE-TURNER,
                 THOMAS IRWIN AND FRANCIS SLAY

          Come now Defendants St. Louis Metropolitan Police Department; Board of Police

Commissioners of the St. Louis Metropolitan Police Department; Richard Gray, Jerry Lee,

Bettye Battle-Turner, Thomas Irwin1, and Francis Slay, in their official capacities as the Board of

Police Commissioners of the St. Louis Metropolitan Police Department (hereinafter referred to

collectively as “Police Defendants”), by and through undersigned counsel, and pursuant to the

Court’s Order dated December 31, 2012 [Doc. #70], files the following Verified Statement of

Reasonable Attorneys’ Fees in the above matter:

          1.     At all times relevant to this filing, Mark Lawson was employed as General

Counsel for the St. Louis Metropolitan Police Department, and his hourly billing rate in that

capacity for Civil Rights cases is $275.00 per hour. See Exhibit A (Affidavit of Mark Lawson)

at ¶ 5.



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    Identified in the First Amended Complaint as “Thomas Irvin.”
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        2.      Attorney Lawson expended 14.5 hours at an hourly rate of $275.00, for a total of

$3,987.50 in reasonable attorneys’ fees expended as a direct result of plaintiffs’ failure to

respond to discovery. Id. at ¶¶ 6 & 7.

        3.      Police Defendants did not incur any taxable court costs as a direct result of

plaintiff’s failure to respond to discovery. Id. at ¶ 8.

        WHEREFORE, Police Defendants pray an Order from the Court granting award of

$3,987.50 in reasonable attorneys’ fees against the plaintiffs in this matter and for such other and

further relief as the Court deems fair and reasonable under the premises.

                                                           BOARD OF POLICE COMMISSIONERS
                                                           OF THE CITY OF ST. LOUIS


                                                           /s/ Mark Lawson
                                                           ________________________________________________________________________

                                                           Mark Lawson #33337MO
                                                           General Counsel
                                                           Jennifer Chestnut Strada #51503MO
                                                           Assistant General Counsel
                                                           Attorney for Police Defendants
                                                           1200 Clark Ave., Room 609
                                                           St. Louis, MO 63103
                                                           Phone: (314) 444-5609 Fax: (314) 444-5611

                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was filed electronically with the
Clerk of the Court on January 31, 2013, to be served by operation of the Court’s electronic filing
system upon all attorneys of record.

                                                           /s/ Mark Lawson
                                                           ________________________________________________________________________




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